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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )       No. CR-S-11-166 MCE
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND ORDER
11
                                                    )       CONTINUING JUDGMENT
     v.                                             )       AND SENTENCING
                                                    )
12
     HUANCHANG MA,                                  )       Date: April 23, 2015
                                                    )       Time: 9:00 a.m.
13
                                                    )       Judge: Honorable Morrison C. England, Jr.
            Defendant.                              )
14
                                                    )
                                                    )
15
                                                    )
16

17          The parties hereby stipulate the following:

18          Judgment and sentencing in this matter is presently set for March 26, 2015. Counsel for

19   the parties request the date for judgment and sentencing be continued to April 23, 2015 at 9:00

20   a.m. Counsel for the defendant needs additional time to meet with the client, review the PSR;

21   discuss the findings and recommendations therein; and, research and draft formal objections.

22   Assistant U.S. Attorney Christiaan Highsmith and USPO Lynda Moore have been advised of this

23   request and have no objection. The parties request the Court adopt the following schedule

24   pertaining to the presentence report:

25              Judgment and Sentencing date:                                      4/23/15
26
                Reply, or Statement of Non-Opposition:                             4/16/15
27
                Motion for Correction of the Presentence Report
28              Shall be filed with the Court and served on the
                Probation Officer and opposing counsel no later than:              4/9/15

                                                        1
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 1
              The Presentence Report shall be filed with the Court
 2            And disclosed to counsel no later than:                       n/a

 3            Counsel’s written objections to the Presentence Report
              Shall be delivered to the probation officer and opposing
 4
              Counsel no later than:                                        n/a
 5
              The Presentence Report shall be filed
 6            And disclosed to counsel no later than:                       n/a
 7

 8   IT IS SO STIPULATED.
 9   Dated: March 16, 2015                                     /s/ John R. Manning
10
                                                              JOHN R. MANNING
                                                              Attorney for Defendant
11                                                            Huanchang Ma
12
     Dated: March 16, 2015                                    Benjamin B. Wagner
13                                                            United States Attorney

14                                                            by: /s/ Chistiaan Highsmith
                                                              CHRISTIAAN HIGHSMITH
15
                                                              Assistant U.S. Attorney
16

17                                             ORDER
18
           IT IS SO ORDERED.
19
     Dated: March 19, 2015
20

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